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                           CRIMINAL CAUSE ON TRIAL

BEFORE: SEYBERT,J.        DATE: 11/29/2007           TIME: 9:30

DOCKET NUMBER: CR 04-911               TITLE: USA-V-

DEFT NAME: ALPHONSE PERSICO                                    DEFT: #1
      X PRESENT    NOT PRESENT          X IN CUSTODY           ON BAIL

      ATTY. FOR DEFT.: SARITA KEDIA; JULIE JONES                  C.J.A.
                      X PRESENT       NOT PRESENT               X RET

DEFT NAME: JOHN DeROSS                                         DEFT: #2
      X PRESENT    NOT PRESENT          X IN CUSTODY           ON BAIL

      ATTY. FOR DEFT.: ROBERT LaRUSSO                           X C.J.A.
                      X PRESENT       NOT PRESENT                 RET

          DEBORAH MAYER;
A.U.S.A. JOHN BURETTA; JEFF GOLDBERG DEPUTY CLERK: C. BARAN

COURT REPORTER:           P. AUERBACH      X E. COMBS              P. LOMBARDI
 X S. PICOZZI             H. RAPAPORT        M. STEIGER            R. TOLKIN
   D. TURSI               O. WICKER

 X   CASE CALLED.       ALL COUNSEL PRESENT.

     CASE ADJOURNED TO                        FOR                    ,

 X   WITNESS(ES) CALLED.

 X   DEFTS. CONTINUED IN CUSTODY.

 X   OTHER: TRIAL TO RESUME 12/3/2007 AT 9:30AM.
